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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF MISSOURI

                               EASTERN DIVISION


Oluwakemi Adewol, Keisha Jackson,
and Jemilat Suleiman on behalf of
themselves and all others similarly
situated,                                          CASE NO. 4:22-cv-00254-NCC
                Plaintiffs,
                                                   .




                    v.


Frickenschmidt Foods LLC and
Wicked Cutz LLC,


               Defendants.




       PLAINTIFFS’ REQUEST FOR CLERK’S ENTRY OF DEFAULT


      COME NOW Plaintiffs Oluwakemi Adewol, Keisha Jackson, and Jemilat

Suleiman, pursuant to Rule 55 of the Federal Rules of Civil Procedure, and

respectfully request the Clerk of the Court enter Default against Defendant Wicked

Cutz LLC. In support of this request, Plaintiffs state as follows:

      1.     Plaintiff Adewol filed suit against Defendant Frickenschmidt Foods

LLC in the above-captioned matter on February 28, 2022. (Doc. No. 1).

      2.     On March 12, 2022 the Amended Complaint was filed which added Co-

Defendant Wicked Cutz LLC. (Doc. No. 5).
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      3.       On April 26, 2022, Defendant Wicked Cutz LLC was served by

Plaintiffs as reflected in the records of Clerk of Court. (Doc. Nos. 20-21).

      4.       Defendant Wicked Cutz LLC has failed to contact Plaintiffs’ counsel in

this matter.

      5.       Counsel for Defendant Wicked Cutz LLC has failed to contact

Plaintiffs’ counsel in this matter nor entered their appearance in this case.

      6.       Defendant Wicked Cutz LLC has not filed an answer or other

responsive pleading with the Court to this date and is therefore in default.



      WHEREFORE, Plaintiffs pray for Clerk’s Entry of Default against Defendant

Wicked Cutz LLC.



Dated: May 18, 2022
                                                                Respectfully submitted,

                                                               THE KEETON FIRM LLC
                                                                    /s/ Steffan T. Keeton
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                           CERTIFICATE OF SERVICE

      I hereby certify that on this 18th day of May, 2022, a true and correct copy of

this Motion was filed with the Court via the Electronic Case Filing System, and was

mailed by United States Postal Service to the following non-participants in

Electronic Case Filing:

                                  Wicked Cutz, LLC
                          C/O KNIGHT SKY VENTURES LLC
                                   137 Nw 1st Ave
                             Delray Beach FL 33444-2611


                                                              /s/ Steffan T. Keeton     .




                                                              Steffan T. Keeton, Esq.
